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            United States Court of Federal Claims
                                          No. 13-596 C
                                         October 4, 2013

______________________________________________
CAPITAL RELOCATION SERVICES, LLC,

                      Plaintiff,
                                                            Subject-matter jurisdiction
v.

UNITED STATES OF AMERICA,

                      Defendant.
__________________________________________

                                 OPINION AND ORDER
Block, Judge.
       Plaintiff filed this bid protest seeking to enjoin the Federal Bureau of Investigation
(“FBI”) from procuring relocation services under Blanket Purchase Agreements (“BPAs”)
awarded to plaintiff’s competitors. The FBI has announced that it plans to conduct a new
procurement to replace the challenged BPAs. The awardees are challenging this “corrective
action” in two consolidated protests pending before the court, in which plaintiff is participating
as a defendant-intervenor. See WHR Group, Inc. v. United States, 13-cv-515; Lexicon Gov’t
Services, LLC v. United States, 13-cv-545.
        Plaintiff’s protest is materially the same as Brookfield Relocation Inc. v. United States,
13-cv-592. As in Brookfield, plaintiff and defendant agree that the challenged BPAs are invalid
and that the FBI should not procure relocation services under them. But for the WHR and
Lexicon protests, defendant would have already taken corrective action to replace the allegedly
invalid BPAs. Thus, as in Brookfield, plaintiff and defendant have the same interests and there
exists no justiciable case or controversy between them.
        Accordingly, for the reasons set forth in the court’s opinion in Brookfield, issued earlier
this day, plaintiff’s protest is DISMISSED, without prejudice, for lack of subject-matter
jurisdiction. The Clerk is directed to take the necessary steps to dismiss this matter.
       IT IS SO ORDERED.


                                                     s/Lawrence J. Block
                                                     Lawrence J. Block
                                                     Judge
